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                                                                                 William S. Hatfield
                                                                                 Director

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                                                             February 15, 2022


  VIA EMAIL AND ECF
  Special Master Thomas P. Scrivo, Esq.
  O’Toole Scrivo, LLC
  14 Village Park Road
  Cedar Grove, NJ 07009
  tscrivo@oslaw.com

             Re:        Occidental Chemical Corp. v. 21st Century Fox America, Inc., et al
                        Docket No. 2:18-cv-11273-MCA-LDW

  Dear Special Master Scrivo:

           On behalf of Givaudan Fragrances Corporation (“Givaudan”), we write in response to the
  letter filed late last night by Occidental Chemical Corporation (“OxyChem”) (Dkt. 1983) related
  to the disclosure of a settlement in principle with the United States.1 OxyChem’s submission,
  which was unsolicited and improper, is just the latest in its pattern of ignoring the rules and
  procedures established by the Court. Further, as usual, OxyChem’s letter is littered with false
  statements and half-truths in an attempt to distract from its own liability. It is well-established that
  OxyChem, as the corporate successor to Diamond Alkali, is the only party responsible for direct
  and intentional discharges of dioxin to the Passaic River and, as such, is liable for the vast majority
  of the cost to clean up the river. The government shares this view, and all the other parties to this
  litigation share this view. Indeed, the only party who remains in denial of this fact, not
  surprisingly, is OxyChem.

           Despite its decades of delay and spending millions of dollars on litigation and other
  activities to avoid cleaning up the river, including attempts to seed the academic literature with
  debunked theories on sources of contamination to the river, OxyChem has not been able to escape
  the fact that it alone is responsible for the cleanup costs to address the dioxin (and other pollution
  related to the Diamond Alkali site operations) in the river. With this in mind, OxyChem’s repeated
  attempts to deflect responsibility (such as the letter filed last night) are not surprising, but are no
  less egregious and not worthy of the Special Master’s time and attention.

         OxyChem’s dissatisfaction with the current state of affairs does not give it the right to
  inappropriately speculate as to the Defendants’ motives for seeking a stay collectively, nor does it
  justify the baseless attacks made against certain individual Defendants, including
  Givaudan. OxyChem makes a number of self-serving, unsupported, and blatantly false statements
  about Givaudan, its historic operations, and its alleged nexus to the river. OxyChem’s statements

  1   Givaudan is among the Defendants that have reached a settlement in principle with EPA.
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  are based on nothing more than its strained and misguided interpretation of certain documents
  wherein bits of information are cherry-picked, or purposefully jumbled, thereby leading to
  spurious conclusions. Givaudan reserves the right to more fully address all of the inaccuracies set
  forth in OxyChem’s letter in a subsequent written response, if necessary. We did not feel it
  necessary, at the present time, as these issues are not before the Court.

           In addition, OxyChem’s statements about the Defendants needing to be deposed to “tell
  the truth” is laughable given OxyChem’s repeated failure to respond to the most basic Requests
  for Admission (which is now the subject of a pending motion; Dkt. 1945), and other outstanding
  discovery demands, underscoring OxyChem’s consistent pattern of gamesmanship throughout this
  litigation. Further, OxyChem’s argument that this settlement has no impact on OxyChem’s claims
  in this litigation is a clear misrepresentation of well-settled law.

          While OxyChem is clearly unhappy to hear that a settlement in principle has been reached
  by most of the Defendants and the United States, and that EPA has committed to a second
  settlement process for the remaining parties, OxyChem’s displeasure does not change the fact that
  such a settlement is supported by the policy and statutory provisions of CERCLA. Nor does it
  change the effect that this settlement would have on the litigation, as all settling parties will receive
  contribution protection from the United States and OxyChem will not be able to pursue its claims
  against any settling parties. (See 42 U.S.C. § 9613(f)(2)). Any representation by OxyChem to the
  contrary is not supported by law. The impending settlement with EPA (which will lay the basis
  for further settlements), along with the valid concerns and consideration of the unnecessary drain
  on court and party resources, are the reasons that Defendants firmly believe that a stay is
  appropriate.

           With its back against the wall, we view OxyChem’s letter as a desperate Hail Mary attempt
  to sway the Special Master and the Court (at the eleventh hour) to proceed with depositions and
  the litigation, notwithstanding the settlement. It should not be given any weight or consideration.

                                                          Sincerely,

                                                          /s/ William S. Hatfield
                                                          _______________________
                                                          William S. Hatfield
                                                          Director



  cc:     All Counsel of Record (via ECF)




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